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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE

ANTHONY J. SINENI, III, ESQ.,            )
                                         )
      Plaintiff,                         )
                                         )
             v.                          )      No. 2:16-cv-000520-JAW
                                         )
CUMBERLAND COUNTY                        )
SHERIFF’S OFFICE                         )

     ORDER ON MOTION TO DISMISS AND MOTION FOR SUMMARY
                         JUDGMENT

      Because the plaintiff in this civil rights claim failed to create a genuine issue

of material fact as to whether a sheriff’s office violated his civil rights as a matter of

its policy and custom, the Court grants the sheriff’s office’s motion for summary

judgment. The Court also denies the plaintiff’s request to dismiss his complaint

without prejudice instead of granting the motion for summary judgment.

I.    BACKGROUND

      On September 27, 2016, Anthony J. Sineni, III, filed a complaint in

Cumberland County Superior Court against the Cumberland County Sheriff’s Office

(the Sheriff’s Office), alleging that the Sheriff’s Office engaged in malicious

prosecution when it illegally obtained a search and arrest warrant against Mr.

Sineni, falsely imprisoned him, and violated his civil rights. State Court Record

Attach. 1 Compl. at 1-7 (ECF No. 3). The Sheriff’s Office removed the complaint to

this Court on October 12, 2016. Notice of Removal (ECF No. 1).

      On September 1, 2017, the Sheriff’s Office filed a motion for summary

judgment together with a statement of undisputed material facts. Def.’s Mot. for
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Summ. J. (ECF No. 55) (Def.’s Mot.); Def.’s Statement of Material Facts in Support of

Mot. for Summ. J. (ECF No. 56) (DSMF). On October 10, 2017, Mr. Sineni filed his

opposition to the motion for summary judgment and in the alternative, he moved for

a voluntary dismissal without prejudice; he also filed a response to the Sheriff’s

Office’s statement of facts and posited additional facts. Pl. Anthony J. Sineni’s Opp’n

to Def.’s Mot. for Summ. J. or in the Alternative Mot. for Voluntary Dismissal Without

Prejudice (ECF No. 60) (Pl.’s Opp’n) (Pl.’s Mot. to Dismiss); Attach 5 Pl.’s Statement

of Material Facts in Support of Opp’n to Def.’s Mot. for Summ. J. at 1-5 (PRDSMF);

Attach 5 Pl.’s Additional Facts at 5-11 (PSAMF). On October 24, 2017, the Sheriff’s

Office filed a reply to Mr. Sineni’s motion for summary judgment with a response to

Mr. Sineni’s statement of additional material facts as well as an objection to Mr.

Sineni’s motion to dismiss. Reply in Support of Def.’s Mot. for Summ. J. at 1-7 (Def.’s

Reply); Obj. to Mot. to Dismiss at 7-8 (Def.’s Opp’n to Mot. to Dismiss) (ECF No. 64);

Resp. to Pl.’s Statement of Facts (DRPSAMF) (ECF No. 65).1

II.    LEGAL STANDARD

       A court may grant summary judgment under Federal Rule of Civil Procedure

56 if the record demonstrates that “there is no genuine dispute as to any material fact



1        In this case, the typical chronological sequence of statement of facts, response, statement of
additional facts, and response was disrupted by the Sheriff’s Office’s failure to provide a supporting
citation for nine of its statements of material fact. DSMF ¶¶ 1-6, 13-15. After Mr. Sineni objected,
the Sheriff’s Office provided the appropriate citations in his reply to Mr. Sineni’s additional facts.
DRPSAFM at 1-2. However, as Mr. Sineni had not had an opportunity to respond to the Sheriff’s
Office’s properly cited statements of fact, the Court issued an order on April 23, 2018, allowing Mr.
Sineni to respond to the Sheriff’s Office’s supplemental statements. Interim Order on Mot. for Summ.
J. (ECF No. 66). Mr. Sineni did not respond to the Court’s April 23, 2018 order and therefore he waived
the right to object or qualify his responses to those statements of fact. The Court treated the
Defendants’ statements of fact for paragraphs one through six and thirteen through fifteen as
supported by the documents referenced in the Defendants’ October 24, 2017 reply.

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and the movant is entitled to judgment as a matter of law.” FED. R. CIV. P. 56(a). “A

‘material’ fact is a ‘contested fact [that] has the potential to change the outcome of the

suit under the governing law if the dispute over it is resolved favorably to the

nonmovant,’ and a ‘genuine issue’ means that ‘the evidence about the fact is such that

a reasonable jury could resolve the point in favor of the nonmoving party.’” McCarthy

v. City of Newburyport, 252 F. App’x 328, 332 (1st Cir. 2007) (quoting Navarro v.

Pfizer Corp., 261 F.3d 90, 93-94 (1st Cir. 2001)) (internal quotation marks and citation

omitted).

       The Court must examine the record evidence “in the light most favorable to

[the nonmovant], and [must draw] all reasonable inferences in . . . favor [of the

nonmoving party].” Foley v. Town of Randolf, 598 F.3d 1, 5 (1st Cir. 2010). At the

same time, courts ignore “conclusory allegations, improbable inferences, and

unsupported speculation.” Cortés-Rivera v. Dep’t of Corr. & Rehab., 626 F.3d 21, 26

(1st Cir. 2010) (quoting Sullivan v. City of Springfield, 561 F.3d 7, 24 (1st Cir. 2009)).

III.   STATEMENT OF FACTS2

       A.      Anthony J. Sineni, III

       Anthony J. Sineni, III has been self-employed as an attorney practicing

predominately in the Portland area and Southern Maine for twenty-six years.

PSAMF ¶ 1; DRPSAMF ¶ 1. During his practice, Mr. Sineni has specialized in

criminal defense law and as a result has gained detailed, specific knowledge about



2       In accordance with “conventional summary judgment praxis,” the Court recounts the facts in
the light most favorable to Mr. Sineni’s theory of the case consistent with record support. Gillen v.
Fallon Ambulance Serv., Inc., 283 F.3d 11, 17 (1st Cir. 2002). In compliance with this obligation, the
Court recites certain events as facts even though the Sheriff’s Office disputes them.

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law enforcement practices including practices by the Sheriff’s Department pertaining

to all criminal matters, which include domestic violence crimes.      PSAMF ¶ 2;

DRPSAMF ¶ 2.

      B.    The Cumberland County Sheriff’s Office

      Kevin Joyce has been the Sheriff of Cumberland County since January 2011.

DSMF ¶ 1; PRDSMF ¶ 1. As Sheriff of Cumberland County, Sheriff Joyce has final

decision-making authority with respect to all policy and operational matters at the

Cumberland County Sheriff’s Office. DSMF ¶ 2; PRDSMF ¶ 2. At no time has Sheriff

Joyce ever been aware of occasions where Cumberland County officers have falsified

reports for the purpose of obtaining arrest or search warrants. DSMF ¶ 3; PRDSMF

¶ 3. Sheriff Joyce is not aware of any occasions when Cumberland County officers

provided misleading statements in support of arrest or search warrants. DSMF ¶ 4;

PRDSMF ¶ 4. Sheriff Joyce is not aware of any occasions when Cumberland County

officers have intentionally or knowingly omitted relevant information from

applications in support of arrest or search warrants. DSMF ¶ 5; PRDSMF ¶ 5.

Sheriff Joyce is not aware of any occasions, including any complaints, claims, or

allegations, that Cumberland County officers have unlawfully interfered with a

parent’s right to the care and custody of his or her children. DSMF ¶ 6; PRDSMF ¶

6.




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        C.      Cumberland County Arrests Anthony J. Sineni, III

        On September 26, 2014,3 the Cumberland County Sheriff’s Office arrested Mr.

Sineni for Assault, Tampering with a Witness, and Receiving/Possessing Stolen

Property. PSAMF ¶¶ 3-4; DRPSAMF ¶¶ 3-4. The arrest was a result of a combined

effort by Sheriff’s Department Detectives and the mother of Mr. Sineni’s children,

Winona Hichborn.4 PSAMF ¶ 5; DRPSAMF ¶ 5.5

        Specifically, Detective John Fournier of the Sheriff’s Office presented

information in the affidavit in support of the arrest warrant that predominately relied



3       The parties disagree about the date the Cumberland County Sheriff’s Office arrested Mr.
Sineni. In paragraph three of his statement of material facts, Mr. Sineni says he was arrested on
September 26, 2014. PSAMF ¶ 3. Paragraph three is supported by Mr. Sineni’s affidavit. PSAMF
Attach. 3, Aff. of Anthony J. Sineni, III, Esq. ¶ 4. The Sheriff’s Office denied Plaintiff’s paragraph
three and affirmatively pointed to an affidavit sworn to by Detective John Fournier and Mr. Sineni’s
own deposition transcript. DRPSAMF ¶ 4 (citing Fournier Aff.; Dep. of Anthony Sineni). The Fournier
affidavit establishes the date the arrest warrant was sought, not the date it was executed. Mr. Sineni’s
February 2, 2017 deposition transcript contradicts his October 10, 2017 affidavit as to the date of his
arrest. As the Court is required to view the facts in the light most favorable to Mr. Sineni, it has used
September 26, 2017 as the date of his arrest.
        Furthermore, from reviewing other evidence in this case, the Sheriff’s Office submitted
documentary evidence of the bail motion and the Court’s granting of bail. DRPSAMF Attach. 3 at 1-
2. These documents confirm that Mr. Sineni was bailed on September 26, 2014 so it appears he must
have been arrested on September 26, 2014, not on September 27, 2014 as the Sheriff’s Office alleged.
4       The Sheriff’s Office moved to strike Plaintiff’s paragraphs 5, 11-16, 18, 23, 25, 31, 34-36, 39,
43, and 44 on the ground that they are not material. DRPSAMF at 3, n. 2. The Court denies The
Sheriff Office’s motion.
        The Sheriff’s Office also denied Plaintiff’s paragraph five citing the deposition of Detective
Fournier at p. 203, on which Detective Fournier said that everything he did was equally to protect Mr.
Sineni and Ms. Hichborn. DRPSAMF ¶ 5. The Court includes the statement because there is no
genuine dispute that Ms. Hichborn’s efforts were a factor leading to the arrest, but the Court draws
no further inferences regarding the detectives’ motives from the specific phrasing of Plaintiff’s
paragraph five.
5       In paragraph six of his statement of material facts, Mr. Sineni states, “Cumberland County
Sheriff Department Detectives violated Department policy and made reckless and or fraudulent
statements in support of an arrest affidavit which was presented to District Court Judge for approval.”
PSAMF ¶ 6. The Sheriff’s Office objected to paragraph six on the ground that it contains inappropriate
legal and factual conclusions and is non-specific. DRPSAMF ¶ 6; DRPSAMF at 3, n.2. The Court
agrees with the Sheriff’s Office that this paragraph is too general and conclusory to be included in the
statement of facts. The Sheriff’s Office also objected to paragraphs 30, 32, 36, and 45 on the same
basis. The Court overrules the objections regarding paragraphs 30, 32, and 36, but agrees with the
Sheriff’s Office on paragraph 45, which the Court addresses in footnote 20.

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on false statements made by Winona Hichborn, knowing that Ms. Hichborn was

documented in several sheriff reports to be unreliable, unstable and always

intoxicated when encountering the sheriffs, whether she called the Sheriff’s Office to

respond or whether they had responded based on other reports as to Ms. Hichborn’s

drunken behavior.6 PSAMF ¶ 7; DRPSAFM ¶ 7. Detective Fournier was familiar

with several recent domestic violence/disturbance reports in which Winona and

Anthony (Tony) Sineni were involved.7 PSAMF ¶ 8; DRPSAMF ¶ 8. Detective

Fournier failed to inform the Judge in his arrest warrant affidavit or by any means

of his knowledge that Ms. Hichborn is unreliable and has in the past been removed




6        The Sheriff’s Office denied Plaintiff’s paragraph seven, referring to Detective Fournier’s
deposition. DRPSAMF ¶ 7. As Mr. Sineni states in his affidavit that he has personally read The
Sheriff Office reports, the contradiction between Detective Fournier’s affidavit and Mr. Sineni’s
affidavit must be resolved in favor of the nonmovant.
         The Sheriff’s Office also moved to strike paragraph 7, 13, 14, and 45 on the ground that they
are inadmissible hearsay. DRPSAMF at 3, n.2. Paragraphs, 7, 13, and 14 are admissible because,
to the extent that the contents of the documents qualify as assertions, they are not offered for the truth
of the matter asserted. Regarding the police reports discussed in paragraph 7, the truth of any specific
claim about what Ms. Hichborn actually said is irrelevant to this lawsuit. What matters is the
existence of the police reports, and the implication that detectives were aware of credibility issues not
disclosed in the warrant application. Similarly, the statements in the tape recording discussed in
paragraph 13 and 14 are not offered for the truth of the matter asserted. For the issues before the
Court, it is irrelevant whether, on a prior occasion, Detective Potvin was actually “sticking [her]
neck[ ] out” for declining to arrest Ms. Hitchborn. It does not matter if Detective Potvin’s statement
is actually true or false. The statement is offered for other reasons, such as what it says about
Detective Potvin’s motives or the effect on the listeners.
         The Court addresses paragraph 45 separately, in footnote 15.
7        In paragraph nine of his statement of material facts, Mr. Sineni states, “Knowing this
information, Fournier admits in his affidavit that he was familiar with these reports.” PSAMF ¶ 8.
The Sheriff’s Office interposed a qualified response, indicating that Detective Fournier stated in the
affidavit that he was familiar with several domestic violence/disturbance reports in which Ms.
Hichborn and Mr. Sineni were involved, but the Sheriff’s Office points out that there is no evidence
that these reports stated that Ms. Hichborn was unreliable, unstable and always intoxicated.
DRPSAMF ¶ 8. The problem with the Sheriff’s Office’s qualified response is that the factual predicate
for this evidence is set forth in paragraph seven, and the Sheriff’s Office did not object to the contents
of paragraph seven on the ground that the sheriff reports do not reveal such information, only that
Detective Fournier recalled things differently. Because the Court was required to view contested
evidence in the light most favorable to Mr. Sineni, the Court included the predicate paragraph and
now includes this corollary.

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from the household due to violent behavior while intoxicated.8                          PSAMF ¶ 9;

DRPSAMF ¶ 9.

        In paragraph five of his affidavit in support of Mr. Sineni’s arrest, Detective

Fournier included statements that Ms. Hichborn told him about what her then-

thirteen-year-old son had told her that Mr. Sineni had said to the son about the

presence of firearms in their basement; Mr. Sineni believes that the statements by

Ms. Hichborn’s son were false and that Detective Fournier recklessly relied upon

them as true in including them in his affidavit in support of the arrest warrant.9

PSAMF ¶ 10; DRPSAMF ¶ 10. Detective Fournier failed to inform the Judge that

Ms. Hichborn was physically removed from the household in March of 2014 due to

domestic violence.10 PSAMF ¶ 11; DRPSAMF ¶ 11. Detective Fournier failed to


8        The Sheriff’s Office denied paragraph nine, which originally read, “Founier failed to inform
the Judge in his affidavit or by any means of his personal knowledge that Hichborn is unreliable, an
alcoholic, and has in the past been removed from the household due to violent behavior while
intoxicated.” PSAMF ¶ 9. The Sheriff’s Office pointed out that Detective Fournier did in fact inform
the Judge that Ms. Hichborn was an alcoholic. DRPSAMF ¶ 9 (citing Fournier Aff. ¶ 24). In
Detective Fournier’s affidavit in support of arrest, paragraph twenty-four states: “Winona has also
told me that she is an alcoholic, and since last summer has had difficulty staying sober.” The Court
has therefore eliminated the reference to Ms. Hichborn being an alcoholic from Plaintiff’s paragraph
nine, since it is inaccurate.
         The Sheriff’s Office has also objected on the ground that Detective Fournier did not believe
that Ms. Hichborn was unreliable and had been removed from the household. DRPSAMF ¶ 9. As the
predicate for this statement appears to be Mr. Sineni’s knowledge of what is contained in the Sheriff’s
Office’s incident reports, the Court will include these contested portions of paragraph nine under its
obligation to view the facts in the light most favorable to the nonmovant.
9        The Sheriff’s Office denied Plaintiff’s paragraph ten, which alleges that Detective Fournier
recklessly included statements that Ms. Hichborn’s son had supposedly told her about the guns in
their basement. DRPSAMF ¶ 10. The Court modified Mr. Sineni’s paragraph ten, because there is no
evidence in this record as to whether Ms. Hichborn’s son’s statements about what Mr. Sineni told him
about the firearms is true or false. The Court included Mr. Sineni’s belief that those statements were
false.
10       The Sheriff’s Office interposed a qualified response to Plaintiff’s paragraph eleven. DRPSAMF
¶ 11. The Sheriff’s Office admits that Detective Fournier did not place this information in the affidavit.
Id. However, it states that Detective Fournier understood that the March 2014 incident involved a
disturbance between Mr. Sineni and Ms. Hichborn and Ms. Hichborn stated that she could stay with
friends. Id. As there is a conflict between Mr. Sineni and the Sheriff’s Office, the Court has viewed
the conflicting evidence in the light most favorable to Mr. Sineni and has included the paragraph.

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inform the Judge that Ms. Hichborn was found at the residence on several occasions

in July and August of 2014 in violation of an existing restraining order. PSAMF ¶

12; DRPSAMF ¶ 12.

       Mr. Sineni has personally reviewed a tape recording made by Detective Jill

Potvin where she is conversing with Ms. Hichborn at Mr. Sineni’s residence during

which Detective Potvin tells Ms. Hichborn that “[w]e are sticking our necks out” for

not arresting her for being in violation of the protection order that was in place.

PSAMF ¶ 13; DRPSAMF ¶ 13. In the tape, Mr. Sineni heard Detective Potvin

continue to coach Ms. Hichborn with an agenda that consisted of the use of false and

unethical statements to promote an agenda to color Ms. Hichborn as a victim and not

a perpetrator of criminal activity. PSAMF ¶ 14; DRPSAMF ¶ 14.

       Prior to Mr. Sineni’s arrest in September 2014, Ms. Hichborn informed Mr.

Sineni that with the help of Detective Fournier and Detective Potvin, a plan had been

formulated to arrest him so that Ms. Hichborn could take possession of his house and

belongings, regain custody of his children, and be provided with financial support.

PSAMF ¶ 15; DRPSAMF ¶ 15. At that time, Ms. Hichborn had been evicted from her

apartment and Mr. Sineni had been awarded sole parental rights over their two

children and his stepson who was Ms. Hichborn’s biological child. PSAMF ¶ 16;

DRPSAMF ¶ 16.

       In his affidavit in support of Mr. Sineni’s arrest, Detective Fournier referred

to statements of Amer11 Radhi about allegedly stolen firearms.                  PSAMF ¶ 17;


11    Mr. Rahdi’s first name is variously spelled Amir and Amer. The Court used Amer but does not
know which is correct.

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DRPSAMF ¶ 17. However, Detective Fournier failed to inform the Judge that Mr.

Rahdi was also a known unreliable witness and that Mr. Rahdi himself had a prior

conviction for possession of a firearm by a prohibited person.12 Id. Detective Fournier

failed to inform the Judge that both Mr. Rahdi and Ms. Hichborn had continued

access to the residence where the guns were stolen and the location where the guns

were found. PSAMF ¶ 18; DRPSAMF ¶ 18. Detective Fournier failed to inform the

Judge that Amer Radhi gave false and misleading statements, and specifically failed

to indicate that Mr. Radhi and Ms. Hichborn were both alternative suspects in the

case.13 PSAMF ¶ 19; DRPSAMF ¶ 19.

       Mr. Sineni had advised Mark Rankin, the owner of the firearms, to make the

report to the police that his guns had been stolen. PSAMF ¶ 39; DRPSAMF ¶ 39.

Detective Fournier interviewed Mark Rankin and failed to inform the Judge that Mr.

Rankin stated that even if Mr. Sineni had possession of the guns, it would have been

authorized with Mr. Rankin’s consent.14 PSAMF ¶¶ 20, 40; DRPSAMF ¶¶ 20, 40.



12      The Sheriff’s Office interposed a qualified response to this paragraph on the ground that
Detective Fournier did not think that Mr. Rahdi was an unreliable witness. DRPSAMF ¶ 17. The
Court has included the statement because, regardless whether Detective Fournier thought Mr. Rahdi
was unreliable, it remains true that he did not include the statement in the affidavit in support of the
arrest warrant.
        Regarding the statement that Detective Fournier did not inform the Judge that Mr. Rahdi had
a prior conviction, the Court notes that the Sheriff’s Office did not object, but Detective Fournier’s
affidavit contains a number of references to Mr. Rahdi’s statements to law enforcement that he was a
felon and was not supposed to be around firearms. The Court included the statement because it is
also true that Detective Fournier did not include in the affidavit the fact that Mr. Rahdi had a prior
conviction for possession of a firearm by a prohibited person.
13      The Sheriff’s Office interposed a qualified response, indicating that although it admitted
Detective Fournier did not include this information in his affidavit in support of the arrest warrant,
he did include two different statements from Mr. Rahdi in the affidavit and he thought Mr. Radhi was
a reliable witness. DRPSAMF ¶ 19. The Court does not view the Sheriff’s Office’s qualified response
as material to Plaintiff’s paragraph nineteen and the Court has included the paragraph.
14      The Sheriff’s Office interposed qualified responses to both paragraphs 20 and 40 (which are
substantially identical), indicating that although Detective Fournier did not put this exact statement

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        Mr. Sineni is personally aware of other situations where Detectives from the

Sheriff’s Office have recklessly and/or intentionally omitted highly probative

information from arrest and search warrants to effectuate their own agendas.15

PSAMF ¶ 33; DRPSAMF ¶ 33.

        D.      Events at Cumberland County Jail after the Sineni Arrest

        Once arrested, Mr. Sineni was transported to and held at the Cumberland

County Jail intake.        PSAMF ¶ 21; DRPSAMF ¶ 21.                   Mr. Sineni was asked by

personnel to take two phone calls from Detective Jill Potvin. PSAMF ¶ 22; DRPSAMF

¶ 22. Detective Potvin was requesting that Mr. Sineni give her information as to the

whereabouts of his stepson. PSAMF ¶ 23; DRPSAMF ¶ 23. Soon after the phone call

with Detective Potvin, Mr. Sineni was informed by the Deputies that both the bail

commissioner and the person posting his bail were at the jail to coordinate his release.

PSAMF ¶ 24; DRPSAMF ¶ 24. At that time, Mr. Sineni saw one of the intake

personnel, Jason Hendrickson, on the phone, and Mr. Hendrickson brought the phone

over to the desk and asked Mr. Sineni to speak with Detective Potvin. PSAMF ¶ 25;

DRPSAMF ¶ 25. Detective Potvin asked Mr. Sineni to get the phone number for the



in the affidavit, he informed the Judge that Mr. Rankin did not want to pursue criminal charges and
that Detective Fournier believed that this statement was adequate. DRPSAMF ¶¶ 20, 40.
        The Court does not accept The Sheriff Office’s qualified responses. It is one thing for the owner
of allegedly stolen firearms to say to law enforcement that the firearms were not stolen because the
suspect had his permission to possess them. It is quite another for the owner of allegedly stolen
firearms to say to law enforcement that even though the suspect stole the firearms, he did not wish to
press charges. In the context of an affidavit for an arrest warrant for receiving or possessing stolen
property, the fact that the owner told law enforcement that he had given the suspect permission to
possess the supposedly stolen property is undoubtedly relevant to whether the warrant for that alleged
crime should issue.
15      The Sheriff’s Office denied this paragraph, citing generally its motion for summary judgment.
DRPSAMF ¶ 33. The Court declines to accept such a general denial. At the same time, Mr. Sineni’s
statement is non-specific and is not especially probative of anything.

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family friends that his son was with and told the Deputy to retrieve the phone. Id.

Mr. Sineni cooperated and gave Detective Potvin the number. Id.

        When the phone call ended, Deputy Hendrickson informed Mr. Sineni and

several other Deputies that Detective Potvin had instructed them to turn the bail

commissioner away so that Mr. Sineni could not be bailed out at that time.16 PSAMF

¶¶ 26, 42; DRPSAMF ¶¶ 26, 42. This was confirmed through a phone call to the

individual who was at the jail with the cash bail and who had shown and counted out




16       The Sheriff’s Office denied these paragraphs (which are substantially the same), citing
Detective Potvin’s deposition. DRPSAMF ¶¶ 26, 42. However, as there is a factual conflict between
Mr. Sineni and Detective Potvin as to what transpired, the Court is obligated to view the facts in the
light most favorable to the nonmovant and it accepts Mr. Sineni’s version.
         The Sheriff’s Office also objected on hearsay grounds. DRPSAMF at 3 n.2; see also supra
footnote 5. There is no double hearsay problem because Detective Potvin’s statement is not hearsay.
It was a command, not an assertion. An imperative statement cannot be true or false. Baines v.
Walgreen Co., 863 F.3d 656, 662 (7th Cir. 2017) (“In other words, [hearsay] statements assert
propositions that may be true or false. They are distinct from other forms of communication, such as
questions or commands”); United States v. Rodriguez-Lopez, 565 F.3d 312, 314 (6th Cir. 2009) (“[I]f the
statements were questions or commands, they could not . . . be offered for their truth because they
would not be assertive speech at all. They would not assert a proposition that could be true or false”);
see also United States v. Murphy, 193 F.3d 1, 5 (1st Cir. 1999) (pointing out that questions are non-
hearsay, because they are not assertions). The key statement, then, is Officer Hendrickson’s. Unlike
several of the other hearsay objections, this statement is hearsay. Mr. Sineni seeks to introduce the
statement of an out-of-court declarant—Officer Hendrickson—to prove the truth of the matter asserted
in the statement—that Detective Potvin just instructed him to turn away the bail commissioner.
         Officer Hendrickson’s statement, however, falls within an exception to the hearsay prohibition
for present sense impressions. See FED. R. EVID. 803(1). “Under this exception, a statement is not
hearsay if it describes or explains an event and is made either while the declarant is perceiving the
event or immediately thereafter. . . .” Davila v. Corporacion De Puerto Rico Para La Difusion Publica,
498 F.3d 9, 18 (1st Cir. 2007). “[T]he underlying theory of this exception is that the substantial
contemporaneity of the event and statement negates the possibility of deliberate or conscious
misrepresentation by the declarant.” United States v. McElroy, 587 F.3d 73, 85 (1st Cir. 2009).
         Here, paragraph twenty-six indicates that Deputy Hendrickson relayed or described what he
had just heard right after hanging up the phone. Regarding the time-limit between the declarant’s
perception and the assertion, there is no “bright-line test” and “no pat answers,” rather “the character
of the transaction or event will largely determine the significance of the time factor.” United States v.
Shoup, 476 F.3d 38, 43 (1st Cir. 2007). Based on the Court’s impression of the brief delay and on very
limited information in this record, the Court concludes that the statement is admissible for purposes
of summary judgment.
         Finally, even if inadmissible for the truth of the Detective Potvin statement, as Detective
Potvin denied making it, the Hendrickson statement would likely be admissible to impeach Detective
Potvin’s denial. FED. R. EVID. 607.

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the cash to verify the amount before the bail commissioner left.17 PSAMF ¶ 27;

DRPSAMF ¶ 27. Mr. Sineni was then held at the Cumberland County Jail for six to

eight hours. PSAMF ¶¶ 28, 41; DRPSAMF ¶¶ 28, 41. Mr. Sineni is personally aware

of many criminal cases where the Cumberland County Jail administration illegally

held inmates who were due to be released.18 PSAMF ¶ 32; DRPSAMF ¶ 32.

        E.      Anthony Sineni’s “No Contact” Bail Condition

        The Sheriff’s Office requested bail conditions that included a provision that Mr.

Sineni could have no contact with his three children.19 PSAMF ¶ 29; DRPSAMF ¶

29.   The basis for the no contact request was fraudulent statements that were

uncorroborated and uninvestigated by any detective or deputy from the Sheriff’s

Office.20 PSAMF ¶ 30; DRPSAMF ¶ 30. Mr. Sineni is personally aware of many face-

to-face encounters that both Detective Fournier and Detective Potvin had with Ms.

Hichborn where she was intoxicated and irrational. PSAMF ¶ 31; DRPSAMF ¶ 31.



17       The Sheriff’s Office interposed a qualified response to this paragraph, stating that the phone
call confirmed that the bail commissioner was there and left but not that Detective Potvin instructed
them to turn the bail commissioner away. DRPSAMF ¶ 27. Perhaps so. But the statement is
consistent with Mr. Sineni’s contention about the sequence of events and the Court included it because
it is required to view contested facts in the light most favorable to Mr. Sineni.
18       The Sheriff’s Office denied this paragraph, citing generally its motion for summary judgment.
DRPSAMF ¶ 32. The Court declines to accept such a general denial. At the same time, Mr. Sineni’s
statement is non-specific and is not especially probative of anything.
19       The parties dispute whether the Sheriff’s Office requested the no contact provision for Mr.
Sineni’s bail. The Sheriff’s Office points to a bail motion filed by an assistant attorney general on
September 26, 2014. DRPSAMF Attach. 3 at 1-2. Mr. Sineni refers to his own affidavit and a bail
commissioner information form. PSAMF Ex, C at 17-19. Even if an assistant attorney general moved
for the no contact condition, this does not clarify whether the Sheriff’s Office asked him to do so. Based
on this record, there is a conflict as to whether the Sheriff’s Office made the request and as the Court
is required to view contested facts in the light most favorable to Mr. Sineni, the Court has included his
version of the events in the statement of facts.
20       The Sheriff’s Office denied this paragraph. DRPSAMF ¶ 30. It cites the deposition of Detective
Fournier. Id. (citing Fournier Dep. at 203). The Court reviewed page 203 of Detective Founier’s
deposition and found no reference to the Sheriff’s Office’s investigation of the events that led to the no
contract bail provision. The Court accepted Mr. Sineni’s version.

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During the course of the criminal proceedings, bail was modified to allow Mr. Sineni

to have contact with his children. PSAMF ¶ 37; DRPSAMF ¶ 37.

       F.      The Victim’s Advocates and Detective Jill Potvin

       Detective Jill Potvin has an office in the Cumberland County District

Attorney’s Office in a separate physical portion of the District Attorney’s Office and

Detective Potvin regularly conducts official Sheriff’s Office business out of that office.

PSAMF ¶ 34; DRPSAMF ¶ 34. Detective Potvin’s office is down the hall from the

Domestic Violence Victims’ Advocates office. PSAMF ¶ 43; DRPSAMF ¶ 43. Due to

the close proximity of open doors, Detective Potvin has access to the Cumberland

County District Attorney’s Office’s Victims’ Advocates and potentially privileged

information.     Id.    Detective Potvin is the sister of Kevin Joyce, the Sheriff of

Cumberland County. PSAMF ¶ 35; DRPSAMF ¶ 35. One of the Domestic Violence

Victims’ Advocates, Jill Merrick, has discussions with Detective Potvin on a daily

basis. PSAMF ¶ 44; DRPSAMF ¶ 44.21 The Victim’s Advocates in the Cumberland

County District Attorney’s Office promote personal agendas when aiding in the

prosecution of domestic violence crimes. PSAMF ¶ 36; DRPSAMF ¶ 36. This agenda

includes unfounded attempts to leverage defendants by creating no contact provisions

of bail with their children. Id.




21      Mr. Sineni included the following statement of fact under paragraph forty-five: “Detective
Potvin interfered with Plaintiff’s Constitutional right to care and custody of his children.” PSAMF ¶
45. The Sheriff’s Office denied this statement, citing its motion for summary judgment. DRPSAMF ¶
45. The Court agrees with the Sheriff’s Office that this statement of fact is a proposition of law and
the Court has not included it.

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       G.      The Sheriff’s Office’s Policies

       The Sheriff’s Office has a set of standard operating procedures which are the

official policies and procedures of the Sheriff’s Office and are available for staff to

review on the computer. DSMF ¶ 13; PRDSMF ¶ 13. The Sheriff’s Office’s Standard

Operating Procedure 2-28 is the official policy and procedure of the Sheriff’s Office

regarding search warrants and was in effect on the date of the incidents in this

lawsuit.    DSMF ¶ 14; PRDSMF ¶ 14.                 The Sheriff’s Office Standard Operating

Procedure A-9 is the official policy and procedure of the Sheriff’s Office regarding

Code of Conduct and was in effect on the date of the incidents in this lawsuit. DSMF

¶ 15; PRDSMF ¶ 15.

       H.       The Criminal Charges

       The charges contained in the complaint that led to Mr. Sineni’s arrest on

September 26, 2014 were dismissed in January 2015.22 DSMF ¶ 7; PRDSMF ¶ 7;

PSAMF ¶ 38; DRPSAMF ¶ 38.


22       The record about the criminal charges is incomplete. The Sheriff’s Office admitted that Mr.
Sineni was arrested for Assault, Tampering with a Witness, and Receiving/Possessing Stolen Property.
PSAMF ¶ 4; DRPSAMF ¶ 4. This is consistent with Detective Fournier’s affidavit in support of the
arrest warrant. Fournier Aff. at 1 (“I, John Fournier being first duly sworn upon oath, state as follows
. . . That I have probable cause to belief, and do believe that Anthony J. Sineni has committed the
following offenses: Theft (by receiving) of Firearms, Tampering with a Witness, (4 counts) and
Domestic Violence Assault”).
         The Sheriff’s Office provided a copy of a Dismissal dated January 5, 2015, dismissing counts
one through five of a criminal complaint because “Defendant has pled to other charges – Counts 6 and
7.” DRPSAMF, Attach. 2, Dismissal at 1. The attached docket sheet reveals eight criminal counts
were pending against Mr. Sineni. Count One: Theft by Receiving Stolen Property; Counts Two, Three,
and Five: Tampering with Witness, Count Four: Domestic Violence Assault; Count Six: Assault; and
Counts Seven and Eight: Disorderly Conduct. Id. Unified Crim. Docket at 4-6. The assault charged
in Count Six involved a man named Jeffrey Savages and took place on August 3, 2014 and the
Disorderly Conduct charged in Count Seven involved Amer Radhi and occurred on September 19, 2014.
Id. Information at 2.
         From what the Court can gather from these records, Mr. Sineni is correct that the charges that
brought about the September 26, 2014 arrest were dismissed. The Sheriff’s Office is also correct that
Mr. Sineni pleaded guilty to two other charges, which predate and postdate Mr. Sineni’s September

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       I.      The Cumberland County Sheriff’s Office’s Insurance Coverage
               and Notice of Claim

       The Maine County Commissioners Association Self-Funded Risk Management

Pool (Risk Pool) is a public, self-funded pool established pursuant to 30A M.R.S. ch.

117.23 DSMF ¶ 8; PRDSMF ¶ 8. Cumberland County is a Named Member of the Risk

Pool and is provided with insurance-type coverage pursuant to a document entitled

“Maine County Commissioners Association Self-Funded Risk Management Pool

Coverage Document.” DSMF ¶ 9; PRDSMF ¶ 9. The Coverage Document specifically

excludes any coverage for any cause of action seeking tort damages for which the

County is immune pursuant to the Tort Claims Act, and limits coverage to those areas

for which governmental immunity is expressly waived by the Tort Claims Act. DSMF

¶ 10; PRDSMF ¶ 10.               Other than the insurance-type coverage provided to

Cumberland County under the Risk Pool’s Coverage Document, Cumberland County

has not procured insurance against liability for any claim against the County or its

employees for which immunity is not otherwise waived under the Maine Tort Claims

Act. DSMF ¶ 11; PRDSMF ¶ 11. Cumberland County did not receive a Notice of

Claim against the County or any County employees regarding the actions discussed

in the Complaint dated September 27, 2016, until the County received a copy of the

Complaint in September of 2016. DSMF ¶ 12; PRDSMF ¶ 12.


26, 2014 arrest. However, there is no indication in this record that the reason the charges were
dismissed against Mr. Sineni was due to lack of evidence and the Court amended Plaintiff’s paragraph
38 accordingly.
23      In his response to these and other insurance coverage issues, Mr. Sineni interposes a qualified
response, indicating that the insurance coverage issues are not relevant because they involve state
law claims, whereas he has filed federal civil rights claims. PRDSMF ¶¶ 8-12. The Court included
these facts because they are not disputed as facts. The Court separately addresses the legal relevance
of those facts.

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IV.   THE MOTION FOR SUMMARY JUDGMENT

      A.     The Sheriff’s Office’s Position

             1.     The State Law Claims

      The Sheriff’s Office first addresses the two state law claims in Mr. Sineni’s

Complaint: Count I – malicious prosecution, and Count II – false imprisonment.

Def.’s Mot. at 5. The Sheriff’s Office says that these claims are governed by the Maine

Tort Claims Act (MTCA), and the Sheriff’s Office maintains that it is entitled to

summary judgment on these claims because Mr. Sineni failed to comply with the

notice requirement of the MTCA and in any event the Sheriff’s Office is protected by

immunity from both claims. Id. at 5-6.

      Regarding the notice defense, the Sheriff’s Office cites 14 M.R.S. § 8107 for the

statutory requirement that a claimant under the MTCA must give written notice of

the claim within 180 days of its accrual. Id. at 6. Citing Cushman v. Tilton, 652 A.2d

650, 651-52 (Me. 1995), the Sheriff’s Office argues that Mr. Sineni’s failure to comply

with the notice provision bars his MTCA claims. Id.

      Next, citing 14 M.R.S. § 8103(1), the Sheriff’s Office contends that it is immune

from the state tort claims. Id. at 6-8. Acknowledging that the MTCA provides for

four exceptions to governmental immunity, the Sheriff’s Office argues that Mr.

Sineni’s claims do not fall within any of the exceptions to statutory immunity. Id. at

7-8. Noting that it is insured through the Maine County Commissioners Association

Self-Funded Risk Management Pool, the Sheriff’s Office also maintains that it has

not waived its immunity. Id. at 8-9.



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             2.     The § 1983 Claim

      The Sheriff’s Office observes that it is the sole defendant in this case and that

even though Mr. Sineni’s Complaint alleges misconduct by Detective Jill Potvin, Mr.

Sineni has not filed a claim against Detective Potvin. Id. at 10. To succeed on a §

1983 claim against a municipal entity, a claimant must, in the Sheriff’s Office’s view,

allege an unconstitutional policy, custom or practice that caused him harm. Id. at

10-11. Here, the Sheriff’s Office contends, there is no evidence of any unconstitutional

policies, customs or practices at Cumberland County that cause Mr. Sineni to suffer

a constitutional deprivation. Id. at 11-12.

      B.     Anthony Sineni’s Position

             1.     The Maine Tort Claims Act

      Mr. Sineni disputes the applicability of the MTCA to either his malicious

prosecution or false imprisonment counts. Pl.’s Opp’n at 8-16. Instead, he counters

that these claims properly assert violations under 42 U.S.C. § 1983.          Id. at 11

(malicious prosecution), 14-15 (false imprisonment). As such, neither claim, in his

view, is subject to the MTCA notice requirement. Id. at 12, 15. Contrary to the

Sheriff’s Office’s contention, Mr. Sineni maintains that the evidence demonstrates

widespread and pervasive unconstitutional practices attributable to the Sheriff’s

Office sufficient to survive summary judgment. Id. at 12-13, 16.

             2.     The § 1983 Claim

      Quoting Troxel v. Granville, 530 U.S. 57, 66 (2000), Mr. Sineni states that

parental interest in the “care, custody and control of their children is . . . a

fundamental liberty interest” protected by the Constitution. Id. at 17. Mr. Sineni

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alleges that Detective Potvin interfered with his protected interest in his children by

assisting in obtaining an arrest warrant against him and by participating in the

imposition of a bail requirement that limited his contact with his children. Id. Mr.

Sineni argues that the circumstantial evidence is sufficient to establish that the

Victims’ Advocates from the District Attorney’s Office and Detective Potvin worked

together to violate Mr. Sineni’s constitutional right to raise his children. Id. at 17-

18.

       C.    The Sheriff’s Office’s Reply

       In its reply, the Sheriff’s Office contends that Mr. Sineni is attempting to alter

the allegations in counts one and two of his Complaint from tort claims under the

MTCA to constitutional violations under 42 U.S.C. § 1983. Def.’s Reply at 1. The

Sheriff’s Office observes that Mr. Sineni never addressed its argument about the lack

of the 180-day notice under the MTCA, and it argues that to the extent the counts

state claims under the MTCA, summary judgment should be granted on both counts.

Id. at 2.

       The Sheriff’s Office views Mr. Sineni’s argument as a belated attempt to amend

his Complaint and it objects to such an amendment. Id. at 2-4. It notes that, in

contrast to count three, neither count one nor two mentions any violation of

constitutional rights. Id. at 3. The Sheriff’s Office also says that at the Local Rule

56(h) conference, “defense counsel stated that he believed Counts I and II asserted

state law tort claims and the Plaintiff did not correct this statement.” Id. at 3.

       If counts one and two are deemed to state constitutional claims, the Sheriff’s

Office maintains that they should still be dismissed because Mr. Sineni failed to
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establish that “he suffered constitutional violations as a result of unconstitutional

policies or customs of this Defendant.” Id. at 4. Regarding the malicious prosecution

claim, the Sheriff’s Office argues that Mr. Sineni failed to prove element two of a

malicious prosecution claim: that the proceeding was terminated in favor of the

accused. Id. at 5. The Sheriff’s Office contends that a compromised resolution, such

as the one in this case, cannot serve as the basis for a malicious prosecution claim.

Id. at 5-6. As regards the false imprisonment claim, the Sheriff’s Office points out

that a false imprisonment claim may not succeed if the basis for the claim is an arrest

pursuant to a warrant. Id. at 6. Further, it claims that Mr. Sineni failed to present

any evidence of a custom or practice by the Sheriff’s Office not to release inmates. Id.

at 6-7. For the same reason, the Sheriff’s Office asserts that it is entitled to summary

judgment on Count III. Id. at 7.

V.    THE MOTION TO DISMISS

      A.     Anthony Sineni’s Position

      On October 10, 2018, after the Sheriff’s Office filed its motion for summary

judgment, Mr. Sineni filed a motion for voluntary dismissal without prejudice with

his response to the Sheriff’s Office’s motion for summary judgment. Pl.’s Mot. to

Dismiss at 19. Mr. Sineni says that:

      [I]f the court takes the position that the defendant is correct on the
      [Maine Tort Claims Act] notice requirements issue, then due to laches
      and unreasonable delay which has prejudiced the Plaintiff, the case
      should be dismissed without prejudice, bearing in mind that we are still
      within the statute of limitations time period.

Id. Mr. Sineni notes that the Sheriff’s Office failed to raise these issues in a motion

to dismiss and instead required him to “incur[ ] burdensome and unnecessary costs

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and [to] spen[d] copious amounts of time on discovery.” Id. Mr. Sineni asserts that

the Sheriff’s Office had “no valid reason to wait until this far into the process to raise

these claims.” Id. Mr. Sineni states that if the case is dismissed against the Sheriff’s

Office, the Court should allow claims “against the individuals who allegedly should

have been named in the Complaint.” Id.

      B.     The Sheriff’s Office’s Reply

      The Sheriff’s Office objects to a without prejudice dismissal of the Complaint.

Def.’s Reply at 8. The Sheriff’s Office quotes Doe v. Urohealth Systems, 216 F.3d 157

(1st Cir. 2000) for the proposition that a court should assess a defendant’s “effort and

expense of preparation for trial, excessive delay and lack of diligence on the part of

the plaintiff in prosecuting the action, insufficient explanation for the need to take a

dismissal, and the fact that a motion for summary judgment has been filed by the

defendant.” Id. (quoting Urohealth, 216 F.3d at 160). The Sheriff’s Office also quotes

Cabrera v. Esso Standard Oil Company Puerto Rico, 723 F.3d 82 (1st Cir. 2013) to

say that a court should not allow a plaintiff to force a defendant “to incur substantial

costs in litigating an action, and then simply dismiss his own case and compel the

defendant to litigate a wholly new proceeding.” Id. (quoting Cabrera, 723 F.3d at 88).

The Sheriff’s Office argues that a plaintiff may not request a dismissal without

prejudice only in the event that a court rules against him in a motion for summary

judgment because it is “not a proper use of Rule 41.” Id.




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VI.   DISCUSSION

      A.     The Rule 56 Conference

      In response to the Sheriff’s Office’s claim that Mr. Sineni failed to correct

defense counsel when he asserted that Counts One and Two were state law claims,

the Court reviewed the transcript of the Rule 56(h) conference and disagrees with the

Sheriff’s Office’s interpretation of the conference.     At one point, defense counsel

stated, “This is a three count complaint . . . and the first two counts are torts which I

believe are governed by the Tort Claims Act. The only defendant is the County.”

Local Rule 56(h) Conf., Tr. of Proceedings 13:7-12 (ECF No. 54). Defense counsel then

made the point that no notice had been filed under the MTCA, and he asked Mr.

Sineni whether he would be willing to dismiss the MTCA claims. Id. 13:14-14:2. Mr.

Sineni replied:

      At this point I am not going to concede anything because I have made
      that mistake before and it has been misconstrued so. I am - - I would
      like the opportunity to see what the defendants say and then respond to
      it accordingly. If I decide at that point to capitulate to, you know, their
      argument, then it will be easy; but certainly I want to see what they
      have to say first.

Id. 14:3-9. Defense counsel pressed Mr. Sineni on the MTCA notice issue and Mr.

Sineni replied, “Well, I am not so sure, but at any rate. . . . Because I mean civil rights

are intertwined in the allegations contained in Counts 1 and 2 as well that are not

just state torts so.” Id. 14:20-25.

      Based on this dialogue, the Court rejects the Sheriff’s Office’s contention that

Mr. Sineni did not correct him when defense counsel asserted that Counts One and

Two were solely state tort law claims.        The record establishes that Mr. Sineni


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informed defense counsel (and the Court) that he was pressing civil rights claims in

Counts One and Two as well as the state tort law claims.

       B.      The State Law Claims

       By the same token, Mr. Sineni stated at the Rule 56(h) conference that he was

making state law claims in Counts One and Two. Id. (“Counts 1 and 2 . . . are not

just state torts . . .”). On their face, both Counts One and Two could be construed as

stating state tort law claims against the Sheriff’s Office. Compl. at 3-5, Count 1,

Malicious Prosecution, Count 2, False Imprisonment. Although in his response, Mr.

Sineni could be seen as abandoning his state tort law claims, he does not clearly do

so. Pl.’s Opp’n at 8-18. Mr. Sineni’s response to the Sheriff’s Office’s statement

number 12 concedes that he did not file a notice of claim with the Sheriff’s Office

within 180 days of the accrual of his state tort law claims in this case. 24 The Maine

Supreme Judicial Court has made it clear that the failure to file a timely and

sufficient notice of claim pursuant to 14 M.R.S. § 8107 with the governmental entity

subject to suit “bars the claim.” Deschenes v. City of Sanford, 2016 ME 56, ¶ 17, 137

A.3d 198 (quoting Cushman v. Tilton, 652 A.2d 650, 651 (Me. 1995)); Mueller v.

Penobscot Valley Hosp., 538 A.2d 294, 297 (Me. 1988). The Court concludes that the

Sheriff’s Office is entitled to summary judgment on Counts One and Two to the extent

they assert state tort law claims against the Sheriff’s Office.



24      The Sheriff’s Office’s statement number twelve reads, “Cumberland County did not receive a
Notice of Claim against the County or any County employees regarding the actions discussed in the
Complaint dated September 27, 2016, until the County received a copy of the Complaint in
September of 2016.” DSMF ¶ 12. Mr. Sineni responded, “Qualified. They did not receive a notice of
claim, however, MTCA notice requirements do not apply to the three causes of action in this because
they are federal civil rights claims brought under Section 1983.” PRDSMF ¶ 12.

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         C.      The § 1983 Claims

                 1.     The Viability of § 1983 Claims Based on State Torts

         In Harrington v. City of Nashua, 610 F.3d 24 (1st Cir. 2010), the First Circuit

discussed whether a “malicious prosecution [claim] can embody a Fourth Amendment

violation and, thus, ground a cause of action under section 1983.” Id. at 30. The

Harrington Court did not decide the issue. Id. (“[W]e do not propose to resolve that

uncertainty today”). But it proceeded on that assumption. Id. In 2012, the First

Circuit discussed the issue in Moreno-Medina v. Toledo, 458 Fed. Appx. 4 (1st Cir.

2012).        Again the First Circuit “assume[d], without deciding, ‘that malicious

prosecution can embody a Fourth Amendment violation and, thus, ground a cause of

action under section 1983.’” Id. at 7 (quoting Harrington, 610 F.3d at 30). But the

First Circuit went a step further and set forth what a plaintiff in the First Circuit

must prove to state a malicious prosecution claim under § 1983:

         In this circuit, a plaintiff seeking to bring a malicious prosecution claim
         under Section 1983 must do more than simply satisfy the elements of
         the common law tort of malicious prosecution. The plaintiff must “show
         a deprivation of liberty, pursuant to legal process, that is consistent with
         the concept of a Fourth Amendment seizure.”

Id. (quoting Harrington, 610 F.3d at 30) (internal citations omitted).

         Based on the tea leaves from the First Circuit, this Court previously concluded

that a plaintiff “may state a claim for malicious prosecution under § 1983.” Filler v.

Hancock Cnty., No. 1:15-cv-00049-JAW, 2016 U.S. Dist. LEXIS 10777, at *76 (D. Me.

Jan. 27, 2016), interlocutory appeal dismissed 859 F.3d 148 (1st Cir. 2017)). However,

to state such a claim, the plaintiff must allege a “constitutional violation” that “lies

in the ‘deprivation of liberty accompanying the prosecution’ rather than the

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prosecution itself.” Id. (quoting Moreno-Medina v. Toledo, 458 F. App’x 4, 7 (1st Cir.

2012) (quoting Britton v. Maloney, 196 F.3d 24, 29 (1st Cir. 1999) (quoting Gallo v.

City of Philadelphia, 161 F.3d 217, 222 (3d Cir. 1998))). In addition, the First Circuit

has stated that the trigger for a malicious prosecution claim under § 1983 is a seizure

“pursuant to legal process,” which it has noted is generally “an arrest warrant” or “a

subsequent charging document.” Nieves v. McSweeney, 241 F.3d 46, 54 (1st Cir. 2001)

(emphasis in original).

      The legal basis for Mr. Sineni’s claim of false imprisonment is more

questionable, not because it cannot be subsumed under a § 1983 claim, but because

his false imprisonment claims appear to be based on an allegation of “a falsely

obtained arrest warrant.” Compl. ¶ 19. In Harrington v. City of Nashua, 610 F.3d

24 (1st Cir. 2010), the First Circuit, citing Wallace v. Kato, 549 U.S. 384, 389 (2007),

described “a critical distinction between false imprisonment and malicious

prosecution.” Harrington, 610 F.3d at 29. The Harrington Court explained that

malicious prosecution, not false imprisonment, “remedies detention accompanied, not

by absence of legal process, but by wrongful institution of legal process.” Id. (quoting

Wallace, 549 U.S. at 389) (emphasis in Wallace). Even so, Mr. Sineni cited Wallace

for the proposition that “[f]alse arrest and false imprisonment overlap; the former is

a species of the latter . . . . We shall thus refer to the two torts together as false

imprisonment.” Pl.’s Opp’n at 14-15 (quoting Wallace, 549 U.S. at 388-89).

      The parties did not discuss this issue in their memoranda and Wallace reveals

some ambiguity as to the circumstances in which a plaintiff like Mr. Sineni could



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proceed under his false imprisonment theory. Therefore, the Court is reluctant to

rule on the motion for summary judgment on the false imprisonment claim based on

a theory not advanced by the Sheriff’s Office and not addressed by Mr. Sineni.

      For purposes of this motion, the Court assumes that Mr. Sineni may in theory

proceed under § 1983 on both malicious prosecution and false imprisonment bases.

The Court turns to whether Mr. Sineni has put forward sufficient facts to withstand

summary judgment.

             2.     Anthony Sineni’s § 1983 Claims against the Sheriff’s Office

      As the Court sees it, Mr. Sineni is proceeding against the Sheriff’s Office first

under the premise that Detective Fournier improperly excluded from the affidavit in

support of the arrest warrant in this case facts that would have suggested he was

innocent of the charges for which he was being arrested.

      In Brady v. Dill, 187 F.3d 104 (1st Cir. 1999), the First Circuit recognized that

a law enforcement officer may not “treat evidence of innocence with impunity.” Id. at

114. The Brady Court wrote that “a police officer may be liable if he fails to apprise

the prosecutor or a judicial officer of known exculpatory information.” Id. Thus,

“when a police officer acts as an information provider, he may be obliged to reveal

exculpatory facts (bearing either on innocence or on probable cause) . . . .” Id. “[T]he

constitutional wrong results from the officer’s failure to deliver material information

to competent authorities.” Id.

      Here, the most troubling omission from the affidavit for the arrest warrant is

the statement by the gun owner, Mark Rankin, that Mr. Sineni’s possession would

have been authorized and with his consent. After all, the warrant authorized Mr.
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Sineni’s arrest in part for receiving stolen property, a violation of 17-A M.R.S. § 359,

which requires that the person who receives the stolen property retain it “with the

intent to deprive the owner of the property.” Id. § 359(1)(A). If the owner authorized

Mr. Sineni’s possession of the firearms, it is difficult to see how there would have been

probable cause to believe he had committed that crime.

      Moreover, in reviewing the affidavit in support of the arrest warrant, the stolen

firearm allegation permeates the subsequent events. Fournier Aff. ¶¶ 2-26. Winona

Hichborn first contacted Detective Fournier concerning the presence of stolen guns

at her home, and Mr. Sineni’s later alleged actions, including his statements to the

police about Amer Radhi bringing the firearms to their home, his efforts to force Mr.

Radhi to accept responsibility for illegal possession of the firearms, his threats to Ms.

Hichborn and Mr. Radhi, and his assault of Ms. Hichborn, all stem from the stolen

weapons charge. Id. Once Mr. Rankin’s exonerating statements were made plain,

the unrevealed issues affecting the credibility of Ms. Hichborn and Mr. Radhi might

well have cast the remaining issues in a different light, causing the judge to balk at

issuing the arrest warrant itself.

      Mr. Sineni’s next series of allegations runs against the actions of Detective

Potvin. The string of connective evidence is dense. But Mr. Sineni essentially claims

that Detective Potvin was in cahoots with Winona Hichborn to get him arrested and

restrict his access to his children as part of a more generalized vendetta among

Detective Potvin and the Victims’ Advocates to leverage the justice system against




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fathers like Mr. Sineni, who are accused of domestic violence.25 Mr. Sineni claims

that Detective Potvin improperly coached Ms. Hichborn to make false accusations

against him with a view toward ousting him from his home, securing Ms. Hichborn’s

custody rights to their children, and extracting financial support from him. As part

of this leverage, Mr. Sineni alleges that Detective Potvin intervened to force him to

remain in jail unbailed for six to eight hours and to convince the assistant attorney

general to demand a no contact provision with Mr. Sineni’s children as a condition for

being released.

       To proceed under § 1983, a claimant must identify the constitutional right

alleged to have been violated. Here, as the United States Supreme Court held in

Manuel v. City of Joliet, 137 S. Ct. 911 (2017), a person arrested based on allegedly

fabricated information “may bring a claim based on the Fourth Amendment.” Id. at

914. Mr. Sineni also claims that the Sheriff’s Office deprived him of the liberty

interest to be a parent to his own children. In Troxel v. Granville, 530 U.S. 57 (2000),

the United States Supreme Court described the “interest of parents in the care,

custody, and control of their children” to be “perhaps the oldest of the fundamental

liberty interests recognized by this Court.” Id. at 65; Carter v. Lindgren, 502 F.3d 26,

30 (1st Cir. 2007) (“In Hatch [v. Dep’t for Children, Youth & Their Families, 274 F.3d

12, 20 (1st Cir. 2001)], this court held that the right to familiar integrity ‘is plainly of

constitutional dimension’”).




25     Exactly whether and how Detective Potvin was supposedly connected with Detective
Fournier’s affidavit in support of the arrest warrant is unclear on this record.

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             3.     The Sheriff’s Office’s Policies and Procedure

      As it now stands, Mr. Sineni’s sole defendant is the Sheriff’s Office. In order

to proceed under 42 U.S.C. § 1983 against a municipality, such as the Sheriff’s Office,

a plaintiff must establish that he suffered constitutional violations as a result of

unconstitutional policies or customs of the municipality. In Monnell v. Department

of Social Services, 436 U.S. 658 (1978), the United States Supreme Court concluded

that “a local government may not be sued under § 1983 for an injury inflicted solely

by its employees or agents.” Id. at 694. Under Monnell, a governmental entity is

responsible under § 1983 only when the injury is inflicted by “execution of a

government’s policy or custom, whether made by its lawmakers or by those whose

edicts or acts may fairly be said to represent official policy. . . .” Id. Government

entities includes counties. See McInnis v. Maine, 638 F.3d 18, 22 n.4 (1st Cir. 2011).

      Mr. Sineni’s basis for claiming that the actions of Detectives Fournier and

Potvin represented the execution of the Sheriff’s policies or customs is remarkably

thin. The Sheriff himself denied any personal knowledge of the type of misconduct

that Mr. Sineni alleged. Mr. Sineni points to no written policy that he contends would

violate constitutional rights. To the contrary, the Sheriff’s Office produced written

policies that require its employees to abide by delineated standards in applying for

search warrants and by a comprehensive Code of Conduct. See DSMF Attach. 4

Cumberland Cnty. Sheriff’s Office Policy and Procedure, Search Warrants, Attach. 5

Cumberland Cnty. Sheriff’s Office Standard Operating Procedure, Code of Conduct.

      The only evidence supporting Mr. Sineni on this narrow issue is his own

assertion that he is personally aware of instances when County employees omitted
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critical information or misrepresented information in affidavits to obtain search

warrants and that he is personally aware of instances when County employees held

inmates over and delayed releasing them from custody. There is also an insinuation

that, in keeping with other cases, Detective Potvin conspired with members of the

District Attorney’s Victims’ Advocates to extract a no contract condition to Mr.

Sineni’s bail.

        But these general allegations are singularly lacking in specifics. Mr. Sineni

failed to specifically identify any of these incidents, leaving the Court only with a

blanket assertion of impropriety. The Court concludes that without more, these

assertions represent “conclusory allegations, improbable inferences, and unsupported

speculation” that the First Circuit warned trial judges not to accept during motions

for summary judgment. Cortés-Rivera, 626 F.3d at 26.

        In sum, whatever claim Mr. Sineni may have against others, the summary

judgment record in this case fails to establish a genuine issue of material fact as to

whether the Sheriff’s Office violated his civil rights under 42 U.S.C. § 1983 in the

events leading up to his arrest, detention, and subsequent prosecution in the fall of

2014.

        D.       THE MOTION TO DISMISS

        Under Rule 41(a)(2), “dismissal without prejudice is the norm, ‘unless the court

finds that the defendant will suffer legal prejudice.’” Cabrera v. Esso Std. Oil. P.R.,

723 F.3d 82, 88 (1st Cir. 2013) (quoting P.R. Maritime Shipping Auth. v. Leith, 668

F.2d 46, 50 (1st Cir. 1981)).     “The mere prospect of a second lawsuit does not



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constitute such prejudice.” Id. (citing Doe v. Urohealth Sys., Inc., 216 F.3d 157, 160

(1st Cir. 2000)). The First Circuit wrote in Cabrera:

       Voluntary dismissal under Rule 41(a)(2) is conditioned on court
       permission to protect the nonmovant from unfair treatment. Such
       unfairness can take numerous forms, including the defendant’s effort
       and expense of preparation for trial, excessive delay and lack of diligence
       on the part of the plaintiff in prosecuting the action, insufficient
       explanation of the need to take a dismissal, and the fact that a motion
       for summary judgment has been filed by the defendant. For example, it
       is appropriate to consider whether a party proposes to dismiss the case
       at a late stage of pretrial proceedings, or seeks to avoid an imminent
       adverse ruling. A plaintiff should not be permitted to force a defendant
       to incur substantial costs in litigating an action, and then simply dismiss
       his own case and compel the defendant to litigate a wholly new
       proceeding.

Id. (internal quotations and citations omitted). “Where, as here, a defendant has

answered the complaint or moved for summary judgment, a plaintiff cannot

unilaterally dismiss an action without court approval ‘on terms that the court

considers proper.’” Sineni v. Estabrook, No. 2:15-cv-00368-JAW, 2016 U.S. Dist.

LEXIS 176373 (D. Me. Dec. 21, 2016) (quoting JRA Architects & Project Managers,

P.S.C. v. First Financial Group, Inc., 375 F. App’x 42, 42 (1st Cir. 2010) (quoting FED.

R. CIV. P. 41(a)(2)).

       In this case, Mr. Sineni filed his Complaint with the Cumberland County

Superior Court on September 27, 2016. State Court Record Attach. 2, Docket Record

(ECF No. 3). The lawsuit has therefore been pending for more than a year and a half.

The Court issued a Scheduling Order on October 20, 2016, setting a discovery

deadline of March 8, 2017 and a due date for dispositive motions of March 29, 2017.

Scheduling Order at 2-3 (ECF No. 6). As is evident from the attachments to the

Defendant’s and Plaintiff’s summary judgment filings, the parties engaged in
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discovery, and the Sheriff’s Office’s motion for summary judgment has been fully

briefed. It is apparent that the parties have spent time, money and effort to bring

the case to this point. See Pl.’s Opp’n at 19 (“Plaintiff has incurred burdensome and

unnecessary costs and spent copious amounts of time on discovery”); Def’s Reply at 8

(“The Defendant has already expended the effort and expense of discovery and

preparation of the Motion for Summary Judgment”).

       In reviewing Mr. Sineni’s motion for dismissal without prejudice, it appears

that he is not technically pressing the motion to dismiss. In his motion, he expressly

states that the case should be dismissed without prejudice “if the court takes the

position that the defendant is correct on the MTCA notice requirements issue” and

explains that the dismissal should be granted “due to laches and unreasonable delay

which has prejudiced the Plaintiff. . . .” Pl.’s Opp’n at 19. However the Court has not

ruled that the MTCA notice requirement bars the claim and therefore the Court views

the request for voluntary dismissal without prejudice to have been withdrawn.

       If the Court is not correct, in these circumstances, it appears that by filing his

motion for voluntary dismissal, Mr. Sineni is seeking to avoid “an imminent adverse

ruling.” Cabrera, 723 F.3d at 88. Accordingly, the Court declines to allow Mr. Sineni

to hedge his bet on this litigation by requesting a dismissal only if the Court is

inclined to rule against him on the motion for summary judgment.

VII.   CONCLUSION

   The Court GRANTS the Cumberland County Sheriff’s Office’s Motion for

Summary Judgment (ECF No. 55) and the Court directs the Clerk to enter judgment

for the Cumberland County Sheriff’s Office and against Anthony J. Sineni, III. The
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Court DENIES Anthony J. Sineni, III’s Motion for Voluntary Dismissal without

prejudice (ECF No. 60).

      SO ORDERED.



                                   /s/ John A. Woodcock, Jr.
                                   JOHN A. WOODCOCK, JR.
                                   UNITED STATES DISTRICT JUDGE

Dated this 8th day of May, 2018




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